           Case 2:09-cr-00274-WBS Document 40 Filed 06/10/10 Page 1 of 2



1    Robert J. Saria
     SBN: 128749
2    SARIA & SARIA
     11344 Coloma Road, Suite 110
3    Gold River, CA 95670
     (916) 631-3553
4    Email: RJSaria@SariaAttorneys.net
5    Attorney for defendant Abel Rudy Raymundo
6

7
                     IN THE UNITED STATES DISTRICT COURT
8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,          )
11                                      )         2:09-CR-00274-EJG
               Plaintiff,               )
12                                      )
          v.                            )         STIPULATION AND
13                                      )         ORDER
                                        )
14   ABEL RUDY RAYMUNDO and             )
     FIDEL RAYMUNDONAJERA               )
15                                      )
               Defendants.              )
16                                      )
     _________________________________ _)
17

18

19             Plaintiff, by its counsel, Assistant United States

20   Attorney Daniel S. McConkie, Abel Rudy Raymundo, by his counsel

21   Robert J. Saria and Fidel Raymundonajera, by his counsel Linda

22   Parasi hereby stipulate and agree that the sentencing hearing date

23   and schedule presently set be vacated and reset as follows:

24             Judgment & Sentencing – July 23, 2010

25             Reply of Statement of Non-Opposition – July 16, 2010




                    Stipulated Motion for Continuance - 1
              Case 2:09-cr-00274-WBS Document 40 Filed 06/10/10 Page 2 of 2



1                 Motion to Correct – July 9, 2010

2                 Final PSR Disclosed to Court & Counsel – July 2, 2010

3                 Written Objections to Probation Officer – June 25, 2010

4                 Draft to Counsel – June 11, 2010

5

6                                        Respectfully submitted,
                                         BENJAMIN B. WAGNER
7                                        United States Attorney
8
     DATED:    May 26, 2010              /s/ Daniel S. McConkie
9                                        E-mail authorization to sign for
                                         Daniel S. McConkie
10                                       Assistant U.S. Attorney
11                                       Counsel for Plaintiff
12
     DATED:    May 26, 2010              /s/ Robert J. Saria
13                                       ROBERT J. SARIA
14                                       Counsel for Abel Raymundo
15   DATED:    May 26, 2010              /s/ Linda Parisi
16                                       Counsel for Fidel Raymundonareja
17

18                                       O R D E R
19        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
20

21   Dated:    June 8, 2010              /s/ Edward J. Garcia
22                                       SENIOR UNITED STATES DISTRICT JUDGE
23

24

25




                       Stipulated Motion for Continuance - 2
